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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


 SUNIL AMIN, TRUSHAR PATEL,
 MANAN BHATT, MARY BLASCO,
 NICHOLAS BIASE, ROSA GRUE, JOHN
 DUDASIK, TODD BASLER, and GAIL
 MAHONEY, on behalf of themselves and
 all others similarly situated,

                Plaintiffs,
                                                  Case No. 1:17-cv-01701-AT
       v.

 MERCEDES-BENZ         USA,   LLC,    and
 DAIMLER AG,

        Defendants.


ORDER GRANTING FINAL APPROVAL OF CLASS SETTLEMENT AND
  GRANTING MOTION FOR ATTORNEYS’ FEES, EXPENSES, AND
     SERVICE AWARDS TO THE CLASS REPRESENTATIVES

I.    INTRODUCTION

      This matter is before the Court on Plaintiffs’ Motion for Final Approval of

Class Settlement [Doc. 112] and Plaintiffs’ Motion for Attorneys’ Fees, Expenses,

and Service Awards to the Class Representatives [Doc. 80]. Plaintiffs, individually

and on behalf of the proposed Settlement Class, and Defendants entered into a

Class Action Settlement Agreement and Release and Amendment to Class Action

Settlement Agreement and Release (collectively, “Settlement”) that, if approved,

resolves this litigation. (Docs. 63-1, 103-1.) The proposed Settlement Class is

defined as a nationwide class of all current and former owners and lessees of
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Mercedes-Benz 2008–19 C-Class, 2010–15 GLK-Class, 2012–17 CLS-Class, 2010–

19 E-Class, 2015–19 GLA-Class, 2013–16 GL-Class, 2016–19 GLE-Class, 2017–19

GLS-Class, 2012–15 M-Class, and 2016–19 GLC-Class who purchased or leased

their Vehicles in the United States.

       On March 12, 2020, the Court ordered notice directed to the Class and

scheduled a Fairness Hearing for September 9, 2020. (Doc. 75 at 4, 5.) Notice was

sent to the Class via the Court-approved notice program, and the Class had an

opportunity to respond. As of September 8, 2020, 16,828 claim forms from 15,870

Class Vehicles for reimbursement of Qualified Past Repairs for a total of 20,528

repairs were filed, a number likely to increase as Class Members may still submit

claim forms for repairs occurring in the period between the Notice Date, May 11,

2020, and December 7, 2020, within 75 days of the date of repair. (Doc. 63-1, §

9.5.) In addition, 196 Class Members submitted timely and potentially valid opt-

outs, and five Class Members objected. 1

II.    CLASS CERTIFICATION AND SETTLEMENT APPROVAL

       When presented with a motion for final approval of a class action settlement,

a court first evaluates whether certification of a settlement class is appropriate

under Federal Rule of Civil Procedure 23(a) and (b). Class certification is proper

when the proposed class meets all the requirements of Rule 23(a) and one or more

subsections of Rule 23(b). Rule 23(a) requires: (1) numerosity, (2) commonality,



1One additional class member objected but withdrew his objection prior to the Final Approval
hearing. (Docs. 86 & 87.)
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(3) typicality and (4) adequacy of representation. See Fed. R. Civ. P. 23(a)(1)–(4).

Rule 23(b)(3) requires that (1) “the questions of law or fact common to class

members predominate over any questions affecting only individual members” and

(2) “a class action [be] superior to other available methods for fairly and efficiently

adjudicating the controversy.” See Fed. R. Civ. P. 23(b)(3).

      The Court analyzed these factors in its Preliminary Approval Order and finds

no reason to disturb its earlier conclusions. (Doc. 75.) Rule 23(a)(1) is satisfied

because the Class consists of over 2.5 million Class Vehicles and joinder of all Class

Members is impracticable. Rule 23(a)(2) is satisfied because there are common

issues of law and fact – the alleged common defect across Class Vehicles and

Defendants’ alleged omissions regarding their HVAC system and the alleged

design defect. Rule 23(a)(3) is satisfied because the Class Representatives’ claims

are typical of those of Settlement Class Members. Rule 23(a)(4) is satisfied because

the Class Representatives and Class Counsel fairly and adequately protected the

interests of the Settlement Class. Rule 23(b)(3) is satisfied because the questions

of law or fact common to the Settlement Class predominate over individual

questions, and a class action is superior to other available methods for the fair and

efficient adjudication of this controversy.

      Because the proposed Settlement satisfies Rules 23(a) and (b), the Court

must next determine if the proposal is fair, reasonable, and adequate. See Fed. R.

Civ. P. 23(e)(2). In preliminarily approving the Settlement, the Court analyzed

Rule 23(e)(2) and concluded that it would be “likely be able to approve” the

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Settlement. Doc. 75, at 4. Each prong of Rule 23(e)(2) is satisfied. Rule 23(e)(2)(A)

is satisfied because the Plaintiffs and Class Counsel vigorously represented the

Class. Rule 23(e)(2)(B) is satisfied because the Settlement was negotiated at arm’s

length by informed counsel acting in the best interests of their respective clients,

and with the close participation of a well-respected mediator. Rule 23(e)(2)(C) is

satisfied because (a) the relief provided for the Class is outstanding considering the

costs, risk, and delay of trial and appeal; (b) direct notice to Class Members was

effective; (c) Defendants will pay Class Counsel’s attorneys’ fees, expenses, and

Class Representative service awards separately, without any reduction of Class

Member recoveries; and (d) there are no undisclosed side agreements. Rule

23(e)(2)(D) is satisfied because the Settlement treats Class Members equitably by

providing the same durational period of coverage for every Class Vehicle and the

same sliding scale of reimbursement or coverage percentage based on the Vehicle’s

age/mileage.

      Further, the Court finds that notice was given in accordance with the

Preliminary Approval Order (Doc. 75), and that the form and content of that

Notice, and the procedures for dissemination thereof, afforded adequate

protections to Class Members and satisfy the requirements of Rule 23(e) and due

process and constitute the best notice practicable under the circumstances.

      On September 9, 2020, the Court held a hearing to consider the fairness,

reasonableness, and adequacy of the proposed Settlement, and to consider each of

the five objections to the Settlement. (See Docs. 88, 106–09.)

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      Under the Settlement Agreement, all 3.8 million potential Class Members

who owned the 2.5 million Class Vehicles are entitled to the benefits of the

extended and enhanced forward looking warranty repair coverage created by the

Settlement. (Doc. 63-1, § 4.4.) Plaintiffs’ expert economist, Lucy Allen, projected

that the forward-looking financial benefit of the Agreement ranged between $30.8

million and $97.5 million based on an analysis of the estimated number of future

repairs to Class Vehicles and the estimated total reimbursement costs for past

repairs. (Doc. 80-2, ¶ 29.) Additionally, Plaintiffs were provided the option of

seeking reimbursement for at least a portion of their documented expenditures for

covered HVAC repairs through December 7, 2020. (Doc. 63-1, §9.5.) When the

value of the cash reimbursements for the already-filed claims is added to the

expected future financial benefit of supplemental warranty coverage, the total

value of the settlement is expected to range between $35.93 million and $103.66

million. In summary, the Agreement as a whole provides meaningful relief on a

widespread class basis for the claimed economic injuries caused by the Vehicles’

HVAC defect at issue in this litigation. (See, Motion for Approval, Doc. 112 at 18–

19 (“The Settlement provides substantial relief to Class Members, delivered

through a clear claims process[.]”)

      Generally, the five class members posing objections to the settlement raised

concerns about the ongoing repair problems that had been posed by the alleged

HVAC defect at issue and claims concerning the health issues caused by the alleged

defect in the Class Vehicles. Two class members who filed objections on the docket

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– Mr. Cosentino (Objection, Doc. 109) and Ms. Zapolski (Objection, Doc. 106) –

appeared at the hearing and personally voiced their concerns to the Court at some

length. Mr. Cosentino explained his experience trying to remedy the alleged moldy

odor in his own vehicle over the past several years. Class counsel explained to Mr.

Cosentino what sort of relief he would be entitled to under the settlement terms,

as well as how to proceed if his local Mercedes-Benz dealership told him otherwise.

Ms. Zapolski explained to the Court that her concern was primarily regarding the

health and safety of family member occupants within her vehicle, and whether the

settlement terms addressed potential personal injury issues. The Court and class

counsel explained to Ms. Zapolski that the settlement explicitly carved out personal

injury claims, so she was entitled to both participate in the settlement and also

bring a separate claim relating to any health problems that she believed resulted

from the alleged moldy odors in her vehicle. Two additional class members who

did not file objections on the docket also appeared during the hearing and were

able to voice their own concerns and questions regarding the operation of the

settlement agreement and seemed satisfied by the explanations provided by class

counsel.

      As part of their response to these various class members, class counsel

represented that they would be creating a system within their law firm to continue

to monitor and address class member concerns regarding the settlement’s

implementation for as long as the settlement benefits are still being accessed by

class members. For example, class members who purchased 2019 vehicles subject

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to the settlement are able to access the benefits of this settlement through 2029, 2

and class counsel has committed to remaining available and engaged in ensuring

that those class members may continue to access the settlement benefits. Class

counsel also committed to remaining accessible to help resolve any issues relating

to the settlement between class members and Mercedes Benz that might arise in

connection with dealers’ handling of HVAC repair matters covered under the

Settlement Agreement or reimbursements covered by the Agreement. Class

counsel further represented that, consistent with their normal class action

litigation practice, they would be moving the class settlement website over to the

control on their own law firm, and they committed to maintaining that website for

as long as this settlement is accessible for any class members. Finally, as noted

above, and in the Settlement, any personal injury claims are not released, and Class

Members remain free to pursue them.

          Certain objections also sought to materially alter the terms of the

Settlement, e.g. by requesting reimbursement of the entire cost of Class Vehicles.

(See Doc. 108.) That result, which would be difficult if not impossible to obtain in

a successful verdict litigated to judgment and upheld on appeal, is the sort of “‘wish

list’ which would be impossible to grant and is hardly in the best interests of the

class” and would likely have undermined the chance of Plaintiffs’ negotiation of a

genuinely beneficial class wide settlement agreement. In re Domestic Air Transp.

Antitrust Litig., 148 F.R.D. 297, 305 (N.D. Ga. 1993); see also Hanlon v. Chrysler


2   The exact expiration date runs 10 years from the actual date of vehicle purchase or lease.
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Corp., 150 F.3d 1011, 1027 (9th Cir. 1998) (“Settlement is the offspring of

compromise; the question we address is not whether the final product could be

prettier, smarter or snazzier, but whether it is fair, adequate and free from

collusion.”).

      Accordingly, the five Class Members’ objections are overruled. That said, the

Court believes that the class members raised understandable concerns and that

counsel and the Court carefully and pragmatically addressed the individual

concerns of each objecting class member who appeared during the hearing as well

as those raised by other select class members.

      Having considered the Parties’ motions and the Settlement (including the

Amendment) together with all exhibits and attachments thereto, the record in this

matter, and the briefs and arguments of counsel, and good cause appearing, the

Court GRANTS the motions for the reasons set forth herein and APPROVES the

class action settlement presented here.

      At their request, the individuals who sought exclusion from the Settlement

Class on a timely and proper basis are excluded from the Settlement Class. Class

Counsel SHALL submit a comprehensive list of those individuals on September

17, 2020.

      The Settlement Agreement is not an admission by Defendants or by any

other Released Party, nor is this Order a finding of the validity of any allegations

or of any wrongdoing by Defendants or any Released Party. Neither this Order, the

Settlement, nor any document referred to herein, nor any action taken to carry out

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the Settlement, may be construed as, or may be used as, an admission of any fault,

wrongdoing, omission, concession, or liability whatsoever by or against MBUSA or

any of the other Released Parties.

III.   THE REQUESTED ATTORNEYS’ FEES, EXPENSES,                                    AND
       SERVICE AWARDS TO CLASS REPRESENTATIVES

       Class Counsel requests an award of $5.2 million in attorneys’ fees and

$200,000 in expenses, as well as service awards in the amount of $40,000 total.

(Doc. 80.) Defendants agreed to pay these amounts on top of, not out of, Class

Members’ recoveries. (See Doc. 63-1 §§ 5.3, 5.4.) No Class Member objected to the

attorneys’ fees and costs request or requests for service awards.

       In this Circuit, courts evaluating attorneys’ fees in a class action look first to

the benefit obtained on behalf of class members. See Lunsford v. Woodforest Nat’l

Bank, 2014 WL 12740375, at *11 (N.D. Ga. May 19, 2014) (“It is well established

that when a representative party has conferred a substantial benefit upon a class,

counsel is entitled to attorneys’ fees based upon the benefit obtained.”) (citing

Camden I Condominium Ass’n v. Dunkle, 946 F.2d 768, 771 (11th Cir. 1991)). Here,

the benefits to Class Members take two forms: reimbursement for past payments

and a forward-looking extended and enhanced warranty.

       Based on the claims filed to date, the value of the cash reimbursements for

past payments could, if each claim is verified, range from $5.13 million to $6.16

million (representing the 20,528 repairs submitted through Class Members’ claims

as of September 8, 2020 multiplied by the average repair amount of $250 to $300).


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(Declaration of Jennifer Keough, Doc. 111, ¶ 23.) This reimbursement amount will

only increase as claims are submitted for repairs that occurred between the Notice

Date, May 11, 2020, and December 7, 2020 which may be submitted within 75 days

of the date of repair. (See Doc. 63-1, § 9.5.)

       To value the forward-looking relief, Class Counsel submitted an expert

declaration from Lucy Allen, an experienced economist and a Managing Director

of NERA Economic Consulting. She undertook an analysis of the estimated future

number of repairs to Class Vehicles and estimated reimbursement cost and opined

that the value the forward-looking warranty relief is between $30.8 million and

$97.5 million. (Doc. 80-2, ¶ 29.)

       Combining these two components results in a total value of the Settlement

for the Class of between $35.93 million and $103.66 million. In addition,

Defendants are paying all costs of claims administration and notice, a total to date

of $2.58 million. 3

       To determine the fee percentage from a constructive fund, courts add the

requested fee and expenses to the denominator. See In re Arby’s Rest. Grp., Inc.

Data Sec. Litig., 2019 WL 2720818, at *2 (N.D. Ga. June 6, 2019) (determining the

“total benefit to the class” by “adding the requested fee, litigation expenses, and

the cost of administration to the $2 million aggregate cap for claims”). Here, the

combined total of the two Settlement components and notice and claims



3That number will increase as the Claims Administrator completes its work verifying and paying
claims and assisting Class Members.
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administration costs paid by Mercedes is $38.51 million to $106.24 million; adding

the $5.2 million in fees and $200,000 in expenses takes that number to $43.91

million to $111.64 million. Class Counsel’s requested fee of $5.2 million thus

represents between 4.66% and 11.84% of the gross constructive settlement fund.

This fee percentage falls well below the “average percentage fee award in this

Circuit” which is “now at or above 30%, as ‘courts within this Circuit have routinely

awarded attorneys’ fees of 33 percent or more of the gross settlement fund.’” Cabot

E. Broward 2 LLC v. Cabot, 2018 WL 5905415, at *7 (S.D. Fla. Nov. 9, 2018)

(quoting Fernandez v. Merrill Lynch, Pierce, Fenner & Smith, Inc., 2017 WL

7798110, at *4 (S.D. Fla. Dec. 18, 2017)).

      Class Counsel’s fee request is reasonable under the Johnson and Camden I

factors. See Camden I, 946 F.2d at 775; Johnson v. Ga. Highway Express, Inc.,

488 F.2d 714, 717–19 (5th Cir. 1974). Specifically: (a) Class Counsel spent extensive

time and labor litigating the case; (b) the case presented several novel and difficult

questions, particularly those of a highly technical nature; (c) the case required a

high level of skill and experience; (d) the requested fee is less than the customary

percentage in contingent cases; (e) the case is being prosecuted on a purely

contingent-fee basis; (f) the Settlement provides outstanding benefits; (g) the fee

award is in line with – if not substantially lower than – awards in other class

actions; and (h) Class Counsel faced a high degree of risk of no recovery.

      A lodestar cross-check confirms the reasonableness of the award sought. As

of September 8, 2020, excluding time spent on their motion for attorney’s fees,

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Class Counsel’s lodestar multiplier was 1.36, excluding any future hours spent

assisting Class Members. Class Counsel submitted attorney declarations reflecting

that they spent over 6,609 hours litigating this case and, using current billing rates

for counsel and market rates that are reasonable and approved in other class

actions including in this district, the total value of that work to date is $3,685,811.

(Doc. 80-1 at 21 (citing Doc. 80-3, ¶ 72; Doc. 80-5, ¶ 22).) As of September 8, 2020,

Class Counsel had billed 6,866.4 hours and the resulting multiplier is 1.36. This

multiplier is below the average in other class action settlements in this Circuit. See,

e.g., In re Equifax, Inc. Customer Data Sec. Breach Litig., 2020 WL 256132, at *39

(N.D. Ga. Mar. 17, 2020) (multiplier of 2.62 “is consistent with multipliers

approved in other cases”); Columbus Drywall & Insulation, Inc. v. Masco Corp.,

2012 WL 12540344, at *5 & n.4 (N.D. Ga. Oct. 26, 2012) (multiplier of four times

the lodestar was “well within” the accepted range and citing examples). And it does

not account for the many hours Class Counsel can reasonably be expected to

expend over the life of the Settlement overseeing it and assisting Class Members.

Class Counsel’s request for $5.2 million in fees is hereby GRANTED.

      Class Counsel’s request for expenses of $200,000 is appropriate and is

granted “as a matter of course” in common fund cases. Gonzalez v. TCR Sports

Broad. Holding, LLP, 2019 WL 2249941, at *6 (S.D. Fla. May 24, 2019). Class

Counsel submitted attorney declarations detailing their expenses, which totaled

$222,502.37, more than the $200,000 they seek. (Doc. 80-1, at 23 (citing Doc. 80-

3, ¶ 79; Doc. 80-5, ¶ 28).) That amount includes the costs of experts, ordinary

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litigation expenses, and the use of an international service specialist to serve

Daimler through the Hague Convention. (Id.) Class Counsel’s request for

$200,000 in expenses is hereby GRANTED.

      Finally, Plaintiffs request a $40,000 aggregate service award for the nine

class representatives based on the number of in-person inspections conducted on

their vehicles, with individual awards ranging from $6,000 to $2,500. Courts

“routinely approve service awards to compensate class representatives for the

services they provide and the risks they incur on behalf of the class.” In re Equifax,

2020 WL 256132, at *40. The aggregate service award of $40,000 is therefore

GRANTED.

IV.   CONCLUSION

Accordingly, the Court hereby orders, adjudges, finds, and decrees as follows:

   1. The Court hereby CERTIFIES the Settlement Class and GRANTS the

      Motion for Final Approval of the Settlement. [Doc. 112.] The Court fully and

      finally approves the Settlement in the form contemplated by the Settlement

      Agreement (Docs. 63-1 & 103-1) and finds its terms to be fair, reasonable

      and adequate within the meaning of Fed. R. Civ. P. 23. The Court directs the

      consummation of the Settlement pursuant to the terms and conditions of the

      Settlement Agreement.

   2. The Court CONFIRMS the appointment of Lieff Cabraser Heimann &

      Bernstein, LLP and Corpus Law Patel, LLC as Class Counsel.



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3. The Court CONFIRMS the appointment of the Settlement Class

   Representatives named in the Settlement Agreement.

4. The Court GRANTS Class Counsel’s request for attorneys’ fees and costs,

   and AWARDS Class Counsel $5.2 million in attorneys’ fees and $200,000

   in expenses to be paid by Defendants separate from the relief available to the

   Class, in the time and manner prescribed by the Settlement. [Doc. 80.]

5. The Court AWARDS the Class Representatives an aggregate service award

   of $40,000 consisting of $6,000 to Mary Blasco, Sunil Amin, and Trushar

   Patel, $4,250 to Manan Bhatt, Todd Basler, John Dudasik, and Gail

   Mahoney, and $2,500 to Rosa Grue and Nicholas Biase.

6. The Court hereby discharges and releases the Released Claims as to the

   Released Parties, as those terms are used and defined in the Settlement

   Agreement.

7. The Court hereby permanently bars and enjoins the institution and

   prosecution by Class Plaintiffs and any Class Member of any other action

   against the Released Parties in any court or other forum asserting any of the

   Released Claims, as those terms are used and defined in the Settlement

   Agreement.

8. The Court further reserves and retains exclusive and continuing jurisdiction

   over the Settlement concerning the administration and enforcement of the

   Settlement Agreement and to effectuate its terms.



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     Accordingly, the Clerk shall enter a separate judgment consistent with the

terms of this Order pursuant to Fed. R. Civ. P. 58. IT IS SO ORDERED this 11th

day of September, 2020.



                                   ___________________________
                                   AMY TOTENBERG
                                   UNITED STATES DISTRICT JUDGE




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